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UNITED STATES DISTRICT COURT CON} Sfp °
DISTRICT OF MASSACHUSETTS 27 p ue ,
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ELIZABETH TYREE ~
Plaintiff,
v. CIVIL ACTION NO. 1:12-CV-11605 RWZ

RAY H. LAHOOD, Secretary,
United States Department of
Transportation Agency

ORAL ARGUMENT REQUESTED

Defendant.

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MOTION TO COMPEL DEFENDANT’S FURTHER RESPONSES TO PLAINTIFFS’ FIRST
SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION FROM DEFENDANT
RAY H. LAHOOD, SECRETARY, UNITED STATES DEPARTMENT OF TRANSPORTATION

AGENCY

Pursuant to Rules 26.2(b), 26.2(c), 33(a) and 37(a) of the Federal Rules of Civil Procedure, Pro Se Plaintiff
Elizabeth Tyree, move the court for an order requiring the Defendant Ray H. LaHood to fully and

completely answer the following:
1) Plaintiffs’ First Set of Interrogatories and Document Request served on July 10th, 2013.
2) Plaintiffs Second Documents Request served on August 2nd, 2013.
3) Plaintiff's Third Document request served on August 6th, 2013.
4) Plaintiff's Fourth Document request served on August 30th, 2013.

To date the Plaintiff has served the Defendant with a total of 7 Interrogatories and a combined total of

14 Document Requests. The Plaintiff has specifically received only one sufficient answer to an

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interrogatory (after conferring with Defendant’s counsel) and Zero Documents, not including initial
disclosures. The Defendant has only provided boilerplate objections and insufficient responses for all

other production requests.

The Defendant’s failure to properly and thoroughly answer the Plaintiff's interrogatories and production
requests has hampered the Plaintiffs discovery, preventing it from setting and preparing for
depositions. Consequently, the Plaintiff respectfully asks this Court to order the Defendant's prompt and
complete response to the Plaintiff's First Request for interrogatories and requests for Production by a
date certain so that fact discovery can be completed in a timely manner. Discovery is scheduled to end

on October 31st, 2013.

Plaintiff's First Set of interrogatories

1. Interrogatory No. 1 and 2

The Defendant's answers to these Interrogatory questions are insufficient. The Defendant answered
each interrogatory only with an objection to the request as “being irrelevant to any claim or defense”.
The Defendant thus failed to adequately answer the questions and provided no further information or

explanation to these interrogatories in their response.

2. Interrogatory No. 3

The Defendant objected to this interrogatory and gave an insufficient and too narrowly focused answer.
The Defendant is ignoring the depth and breadth of the request along with the relevant and
discoverable information the request is asking for. Instead, the Defendant chose to respond with only
partial information related to 2 CRADA’s and ignored of all relevant agreements the request was asking
for. For example, the defendant gave a non-answer for subpart (e) which asks for the duration of time it

took each agreement to be approved\turnaround from the initial point of contact to date it was signed.

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The Defendant only gave the turnaround time from when the Statement of work was received to the
date it was signed and did not provide the duration of time from the initial point of contact among other

things.

3. Interrogatory No. 4

Similarly to Interrogatory No. 3 the Defendant objected to the interrogatory and gave an answer that
was insufficient, too narrowly focused, leaves out relevant and discoverable information about other

agreements.

4. Interrogatory No. 5

Defendant objected to the interrogatory and gave an answer that was insufficient, and too narrowly

focused.

With respect to document production, to date the Defendant has only provided objections and has not

provided a single requested Document.

Plaintiff's First Document Request

5. Document Request No. 1 — From First Request (There was only one request initially.)

Defendant provided a boilerplate objection and failed to provide documents in their possession.

Plaintiff’s Second Document Request

6. Document Request No. 1, 2, 3, and 4 — From Second Request

Defendant provided only boilerplate objections and failed to provide documents in their possession.

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Plaintiff's Third Document Request

7. Document Request No. 1, 2, 3, 4,5, and 6 — From Third Request

Defendant provided a general objection referring to Local Rule 26.1(C) and stated that the Defendant
will not respond to any further document request without a court order directing it to do so. The
Defendant then proceeded to respond specifically to each request with boilerplate objections and failed

to provide documents in their possession.

Plaintiff’s Fourth Document Request

8. Document Request No. 1, 2, 3, and 4— From Fourth Request

The Defendant has not responded to the fourth document request. From conferring with Defendant’s
counsel on September 13th, 2013 it was confirmed that the Defendant will not respond to the fourth

document request without a court order.

In support of this motion, the Plaintiff refers the Court to her supporting brief filed herewith, which
demonstrates the objections to such interrogatories and document requests are without merit and that

the Plaintiff is entitled to the information sought therein.

REQUEST FOR ORAL ARGUMENT

Pursuant to MA Local Rule 7.1(d), the Plaintiff respectfully request oral argument on this motion. The

Plaintiff believes that an oral argument with respect to this motion may be of assistance to the Court.

CERTIFICATE OF CONSULTATION

Pro Se Plaintiff Elizabeth Tyree certifies that she has conferred with defendant's counsel Ms. Christina

Wichers. Conference was conducted via telephone on Friday, September 13th 2013 at 10:10am and

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have attempted in good faith to resolve or narrow the issues raised in this motion. No issues raised in

this motion have been resolved.

Pro Se Plaintiff

106 Sixth St.
Cambridge, MA 02141
617-962-3622

Eli. Tyree@gmail.com

Dated: 09/27/2013

CERTIFICATE OF SERVICE

This document will be mailed to the Defendant's Counsel via United States Postal Service
Certified Mail on September 27, 2013.

By:
Elizab yree
Pro Se Plaintiff

Dated: 09/27/2013

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